                  IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :
                                         :      3:95CR307-1
             v.                          :
                                         :
EDWARD JAMES WATSON                      :


   RESPONSE TO DEFENDANT’S MOTION TO REDUCE SENTENCE
     UNDER SECTIONS 404 AND 603 OF THE FIRST STEP ACT

      NOW COMES the United States of America, by and through Sandra J.

Hairston, Acting United States Attorney for the Middle District of North

Carolina, and files its response to Defendant Edward James Watson’s motion

for sentence reduction under Sections 404 and 603 of the First Step Act (Dkt.

## 333–35) in accordance with the Court’s March 19, 2021 Order. (Dkt. #337).

                                  Summary

      On March 10, 2021, Defendant Edward James Watson (“Watson”),

through counsel, moved for reduction in sentence under Sections 404 and 603

of the First Step Act of 2018. (Dkt. ## 333–34). In the motion, Watson seeks

reduction of his mandatory life plus 45 years term of imprisonment to time

served on account of changes to drug sentencing laws wrought by Section 404

of the First Step Act. (Dkt. #334 at 14-15). Watson also seeks relief under the

compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by




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Section 603 of the First Step Act. Watson contends that developments in

compassionate release case law, coupled with the threat of COVID-19, his

serious health conditions, and his clear disciplinary record and rehabilitative

efforts while in prison, entitle him to relief from his “stacked” § 924(c) firearm

sentences. (Id. at 19-20).

      Watson is eligible for sentence reduction under Section 404, as his drug

offenses are “covered offenses” under the meaning of the First Step Act. The

government acknowledges that some reduction is appropriate in light of both

statutory and Guidelines changes since Watson’s 1996 sentencing. The

government disagrees, however, with the sentence calculations presented by

Watson and submits a more modest reduction is warranted. As to Watson’s

compassionate release argument, the government agrees that Watson has

shown “extraordinary and compelling reasons” on the present record and in

light of current case law. Even if the Court concludes Watson’s “stacked”

§ 924(c) sentences are appropriate grounds for a reduction under the

compassionate release statute, the government submits a more modest

reduction than that proposed by Watson is supported by the § 3553(a) factors.

                                 Background

      In December of 1995, a grand jury returned a 22-count indictment

charging Watson and five co-defendants in a crack cocaine trafficking

conspiracy. Following a four-day jury trial concluding on February 23, 1996,

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Watson was found guilty of Counts 1, 12, 14, and 20, conspiracy to possess with

intent to distribute, distribution of cocaine base, and employing persons under

18 to distribute cocaine base, in violation of 21 U.S.C. §§ 846, 841(a)(1),

(b)(1)(A) and (b)(1)(B), and 861 (consolidated for judgment); Counts 5, 6, 7, and

13, distribution of cocaine base and employing persons under 18 to distribute

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 861

(consolidated for judgment); Counts 9, 16, 18, and 19, possession of a firearm

following a felony conviction in violation of 18 U.S.C. § 922(g) (consolidated for

judgment); and Counts 8, 17, and 21, each charging carrying and using a

firearm during a drug trafficking crime, in violation of 18 U.S.C. § 924(c). (Dkt.

## 1, 99). Each of Watson’s five co-defendants pled guilty earlier in February

1996, before Watson’s trial. (Dkt. #324, PSR, at ¶¶ 10-14).

      Prior to trial, the government filed an Information of Prior Conviction

establishing that Watson had been previously convicted of three felony drug

offenses, to include two 1989 convictions for sale of cocaine in Hoke County,

North Carolina, and a 1991 conviction for felony possession of cocaine in

Cumberland County, North Carolina. (Dkt. #304). Watson was therefore

subject to increased penalties as provided in 21 U.S.C. § 841(b)(1).

      On July 1, 1996, the Court sentenced Watson to a mandatory sentence

of life imprisonment followed by 10 years of supervised release on Counts 1,

12, 14, and 20 (consolidated); a concurrent sentence of 30 years followed by 6

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years of supervised release on Counts 5, 6, 7, and 13 (consolidated); a

concurrent sentence of 10 years followed by 3 years of supervised release on

Counts 9, 16, 18, and 19 (consolidated); and on the § 924(c) counts, consecutive

sentences as follows: 5 years on Count 8, 20 years on Count 17, and 20 years

on Count 21, each followed by a three year term of supervised release. (Dkt.

#143). Watson’s aggregate prison sentence was life imprisonment plus 45

years. The Court of Appeals affirmed. United States v. Watson, 129 F.3d 118,

1997 WL 702276 (4th Cir. 1997) (unpublished).

      The evidence at trial established that Watson (a.k.a. “Big Boy”) was the

leader of a crack distribution ring operating primarily out of a mobile home

park located on Purvis Court in Raeford, North Carolina. His activities were

monitored through undercover agents who conducted drug transactions with

him. (Id. at ¶ 18). Watson held exclusive reign over the Purvis Court “territory”

and employed subordinates as street level dealers, who he called “the boys,”

which included two underage males. (PSR ¶¶ 17, 27). “The boys” would hang

out in front of one of the mobile homes on Purvis Court and wait for customers

to come. (Id. at ¶ 27). Watson generally gave each of “the boys” an average of 5

to 10 rocks of crack to sell, two or three times per week, but reserved larger

quantities to sell himself. (Id.). Watson would let the dealers keep $20 for

every $100 worth of crack sold. (Id.). Over the nearly two-year long conspiracy,

Watson was estimated to be accountable for over 5 kilograms of crack cocaine.

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(Id.).

         Firearms and threats were a regular part of Watson’s trafficking

activities. (Id. at ¶ 19). He displayed weapons during drug transactions, sold

weapons to undercover agents, and used them to force others into selling to

him. Watson bragged that he often traded crack cocaine for firearms. (Id.).

Watson told an undercover agent he would kill on sight anyone who tried to

sell crack on the Purvis territory, which he considered his. (Id. at ¶ 17).

         Because all of Watson’s drug offenses were closely related, they were

grouped (excepting the § 924(c) counts) for Guidelines calculation purposes.

(Id. at ¶ 49). Under the 1995 version of the Guidelines, Watson’s base offense

level was controlled by Counts 7 and 12, charging violation of 21 U.S.C. § 861

(employing a person under 18 to distribute cocaine base). (Id. at ¶ 50). Watson’s

base offense level was 39, and he was also subject to a four-level enhancement

for being an organizer or leader of a criminal activity with 5 or more

participants. His total offense level was 43, (id. at ¶ 55), and his criminal

history category was VI (id. at ¶ 76). With his § 851 enhancement, Watson

faced a statutory mandatory life term on Counts 1, 12, and 20 under 21 U.S.C.

§ 841(b)(1)(A). He faced a mandatory consecutive 5 years of imprisonment on

Count 8 and a mandatory consecutive 20 years of imprisonment on each of

Counts 17 and 21 under 18 U.S.C. § 924(c)(1). (Id. at ¶ 97). His Guideline

range was life imprisonment, but on Counts 5, 6, and 13, the Guideline range

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was limited to 30 years by operation of the statutory maximum. On Count 7,

the Guideline range was 40 years per the statutory maximum. On Counts 9,

16, 18, and 19, the Guideline range was 10 years, each count, per the statutory

maximum.       (Id. at ¶ 98). Thus, on Counts 1, 12, 20, 8, 17, and 21, the Court

had no discretion in sentencing Watson to a life term plus 45 years.

        Following his appeal, Watson filed a § 2255 motion and several

amendments, which were denied in 1999. (Dkt. #240). Watson’s motion for

sentence reduction under the 2011 retroactive crack amendment was denied.

(Dkt. #295). Another § 2255 motion seeking Simmons 1 relief was denied in

2014. (Dkt. #321). A third § 2255 motion was dismissed in 2016 for failure to

obtain certification from the Court of Appeals for a second or successive § 2255

petition. (Dkt. #328).

        Watson is currently in BOP custody at FCI Gilmer. See BOP Inmate

Locator, at https://www.bop.gov/inmateloc/ (last accessed April 7, 2021). He

has served just over 25 years in prison. See Attachment #1 (Public Information

Inmate Data) at 4.




1   United States v. Simmons, 649 F.3d 237 (4th Cir. 2011).
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                                  Discussion

   A. Watson’s Motion for Reduction in Sentence Pursuant to Section 404 of
      the First Step Act

      Section 404 of the First Step Act permits district courts to reduce a

sentence for a “covered offense”, i.e., any “crack” cocaine offense committed

before August 3, 2010, for which the statutory penalties were modified by

sections 2 or 3 of the Fair Sentencing Act (“FSA”). § 404(a), 132 Stat. at 5222;

see also United States v. Wirsing, 943 F.3d 175, 186 (4th Cir. 2019). As relevant

here, the FSA changed the conditions under which enhanced mandatory

minimum penalties apply under 21 U.S.C. § 841(b)(1). Prior to the FSA, and at

the time of Watson’s conviction, a defendant charged with distributing over 50

grams of crack cocaine (as Watson was in Counts 1 and 20) faced a mandatory

minimum sentence of 20 years with one prior conviction for a felony drug

offense, and a mandatory sentence of life in prison with two prior drug felonies.

The FSA changed the threshold drug amounts punishable under § 841(b)(1)(A)

from 50 to 280 grams of crack cocaine, and the threshold amounts under

§ 841(b)(1)(B) from five grams to 28 grams, resulting in Watson’s offenses

falling under (b)(1)(B) rather than (b)(1)(A). The FSA also changed the type of

prior conviction triggering enhanced penalties applicable to such offenses from

a mere “felony drug conviction” to the new requirement of a “serious drug




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felony.” 2 Section 841(b)(1)(A) offenses now carry a penalty of ten years to life,

with enhanced penalties of 15 years to life for one prior conviction for a serious

drug felony or serious violent felony, and 25 years to life for those with two

prior drug felonies or serious violent felonies. The sentence range for offenses

of 28 grams or more became five to 40 years, and 10 years to life with at least

one prior serious drug felony or serious violent felony. Pub. L. No. 111-220,

§ 2, 124 Stat. 2372, 2372; 21 U.S.C. § 841(b)(1)(B). The First Step Act of 2018

made those changes retroactive. Wirsing, 943 F.3d at 180. Even if a defendant

is eligible for a sentence reduction under the First Step Act, however, see

United States v. Woodson, 962 F.3d 812, 816-17 (4th Cir. 2020), the district

court has discretion to determine whether to reduce the sentence. United

States v. Gravatt, 953 F.3d 258, 261 (4th Cir. 2020); see also § 404(c), 132 Stat.

at 5222 (“Nothing in this section shall be construed to require a court to reduce

any sentence pursuant to this section.”) (emphasis added).

      At the time of Watson’s trial and sentencing, he faced a mandatory life

term of imprisonment on Count 1 (in excess of 50 grams) and Count 20 (53

grams) under the then-existing version of § 841(b)(1)(A) (enhanced) on account

of having at least two prior felony drug offenses. Watson also faced a term of


2“Serious drug felony”, as compared to the previous qualifier of a “felony drug
offense”, is defined as an offense for which the offender served a term of
imprisonment of more than 12 months, and the offender’s release from
imprisonment was within 15 years of the instant offense. 21 U.S.C. § 802(57).
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10 years to life on Count 14 (19.8 grams) under then-existing § 841(b)(1)(B).

Because the penalties on each of those counts were modified by the FSA,

Watson’s offenses are “covered offenses,” and he is eligible for relief under the

First Step Act. Wirsing, 943 F.3d at 186.

      As noted above, however, it is up to the Court’s discretion whether to

impose a reduced sentence for Watson, and to determine the extent of any such

reduction. If sentenced today, the government maintains that Watson would

still face a statutory sentencing range of 10 years to life on Counts 1 and 20,

see 21 U.S.C. § 841(b)(1)(B) (enhanced), and a maximum of 30 years on Count

14, see 21 U.S.C. § 841(b)(1)(C) (enhanced). See also U.S. Probation Office

Memorandum of 4/1/21, Dkt. #340, at 1. 3 This is because Watson’s § 851

enhancement remains valid under current law as to two of his prior

convictions. Watson’s 1989 convictions for sale of cocaine (consolidated for

sentencing) qualify as a “serious drug felony,” as they resulted in a sentence of

eight years with all but 180 days suspended. Following Watson’s service of the

active portion of his sentence, his probation was revoked; he returned to prison

with a 220-day jail credit on August 29, 1991. He was paroled on April 28, 1992,

approximately 243 days later. (PSR at ¶ 64). Thus, Watson served a sentence




3Watson’s statutory penalties on Counts 5, 6, and 13 remain unchanged with
a maximum of 30 years. (Dkt. #340 at 3).

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of more than 12 months on his 1989 convictions, and those convictions occurred

less than 15 years before the commencement of the instant offense, making

these offenses “serious drug felonies.” 4 Given Watson’s drug amounts of 50 or

more and 53 grams, respectively, on Counts 1 and 20, his offenses would fall

under the enhanced penalty of 10 years to life under § 841(b)(1)(B).

      As for the Guidelines range that would be applicable if Watson were

sentenced today, U.S. Probation’s calculations reflect that Watson’s Guidelines

range of imprisonment is 360 months to life on the drug offenses alone. (Dkt.

#340 at 2). Watson’s new total offense level would be 39, and his criminal

history category would remain VI. (Id. at 2-3). Watson’s suggestion that his

Guidelines range would be 235-293 months if sentenced today is premised on

an incorrect assumption that the base offense level is guided by the drug

quantity in which Watson was found to be “directly involved,” or 222.4 grams.

(Dkt. #334 at 23). Unfortunately for Watson, this is a mistaken interpretation

of the Guidelines, which require consideration of all relevant conduct when

calculating attributable drug quantities. See U.S.S.G. § 2D1.1, cmt. n.5; see

also 1B1.3(a)(1)–(2). As described in the PSR, a “conservative estimate” of

Watson’s drug accountability is 5.613 kilograms. (PSR at ¶ 18). Moreover,


4As acknowledged by the U.S. Probation Office’s memorandum, Watson’s third
prior conviction noted in the § 851 enhancement, a 1991 conviction for
possession of cocaine, did not result in Watson serving more than 12 months
and thus does not qualify as a “serious drug felony.” (PSR at ¶ 66).
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Watson’s offenses are grouped for purposes of determining the offense level,

and the highest offense level is produced by Counts 7 and 12, employing a

minor, which is a level of 35. See U.S.S.G. § 2D1.2(a)(2) (base offense level for

total attributable drug amount from § 2D1.1 (5.613 kg of crack cocaine = base

level 34) plus one level). Therefore, adding the four levels for the

organizer/leader enhancement, Watson’s total offense level would be 39,

leading to an advisory Guidelines range of 360 months to life imprisonment.

      Watson is correct that the Court may properly include non-covered

offenses when considering an appropriate sentence reduction, as the aggregate

sentence must reflect what is sufficient but not greater than necessary

punishment as a whole. In United States v. Anderson, 2019 WL 4440088

(D.S.C. Sept. 17, 2019) (unpub.), the defendant had been sentenced to

concurrent terms on both an FSA “covered” and a “non-covered” offense. The

government took the position that it was within the district court’s discretion

to impose a reduced sentence that had the effect of reducing a defendant’s

sentence on a non-covered offense. United States v. Anderson, 0:04CR353-

CMC-3, DE 885 at 1-2. The government explained, while the crime in the

second count was not a “covered offense”:

            …if a defendant received a sentence for a covered offense
      that is concurrent to sentences imposed for a non-covered offense,
      the district court may impose a new sentence that has the effect of
      reducing the terms of imprisonment for the non-covered offense.
      See, United States v. Biggs, 05 CR 316, 2019 WL 2120226, at *3

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      (N.D. Ill., May 15, 2019)(“As with any sentencing, the court
      considers multiple counts together; indeed, the guidelines require
      the court to use a combined offense level for all counts. U.S.S.G.
      § 3D1.1(a)(3). Because the potential reduced penalties for the
      covered offense could influence the range of recommended
      penalties for non-covered offenses, ‘impos[ing] a reduced sentence
      as if . . . the Fair Sentencing Act . . . were in effect’ entails
      resentencing on all counts.”)

Id., at 2. The same is true in the instant case.

      Because the sentencing court had fashioned its original “sentence as a

whole for both convictions,” Anderson’s eligibility on the First Step Act count

“means the court has the authority and discretion to unbundle the sentence

and impose a reduced sentence on both counts.” Anderson, 2019 WL 4440088,

*4, n. 2. Ultimately, the Anderson court exercised its authority and reduced

the sentence imposed from 300 months, concurrent, to a term of 262 months,

concurrent, on the covered and uncovered offenses. Id., at *4.

      Here, Watson’s sentence (setting aside the § 924(c) counts for now)

included three groupings of counts, all adjudged to run concurrent with one

another: Counts 1, 12, 14, and 20 (life sentence) (“Group I”); Counts 5, 6, 7,

and 13 (30 years) (“Group II”); Counts 9, 16, 18, and 19 (10 years) (“Group III”).

Each of these grouped sentences could be modified and ordered to run

concurrently as the Court finds appropriate in its discretion, within the

advisory Guidelines range of 360 to life. The government contends that a

sentence at the bottom of the Guidelines range, or 360 months, would be


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sufficient but not greater than necessary to address the grouped offenses

(concurrent drug and felon in possession convictions), in light of the sheer

number of offenses, the quantity of drugs involved, the pervasive firearm

possession, and the pernicious employment of minors in the offenses. For these

reasons, a below-Guidelines sentence on the drug and firearm possession

charges is not supported by the government.

   B. Watson’s Motion for Compassionate Release/Reduction in Sentence on
      Section 924(c) Counts Pursuant to Section 603 of the First Step Act

      Under     the   compassionate      release   provisions    of   18    U.S.C.

§ 3582(c)(1)(A)(i), the district court may modify or reduce an inmate’s sentence

“upon motion of the Director of the Bureau of Prisons, or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such request by the warden

of the defendant’s facility, whichever is earlier[.]” 18 U.S.C. § 3582(c)(1)(A). If

this condition is met and the motion is properly before the district court, the

court must also find, after considering the factors set forth in 18 U.S.C.

§ 3553(a) to the extent that they are applicable, that “extraordinary and

compelling reasons warrant a reduction” of the defendant’s sentence and that

“such reduction is consistent with applicable policy statements issued by the

Sentencing Commission[.]” Id. This includes that “the defendant is not a


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danger to the safety of any other person or to the community, as provided in

18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2), p.s. (2018).

      The government acknowledges that COVID-19 may affect whether an

inmate can show an “extraordinary and compelling reason” warranting

compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i), to the extent that

(1) the inmate has a condition or characteristic that is a cognizable basis for

compassionate release under the current criteria (e.g., a serious medical

condition, debilitating condition, elderly offender with medical conditions, etc.)

and that condition or characteristic also elevates the inmate’s risk of becoming

seriously ill from COVID-19 under CDC guidelines, and (2) the inmate is more

likely to contract COVID-19 in his particular institution than if released.

      If, after considering the § 3553(a) factors to the extent that they are

applicable, a court finds that “extraordinary and compelling reasons warrant

such a reduction,” then the court may “reduce the term of imprisonment (and

may impose a term of probation or supervised release with or without

conditions that does not exceed the unserved portion of the original term of

imprisonment),” upon finding that such a reduction is consistent with

applicable policy statements, including that “the defendant is not a danger to

the safety of any other person or to the community.” 18 U.S.C. § 3582(c)(1)(A);

U.S.S.G. § 1B1.13.



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      The government acknowledges that in United States v. McCoy, 5 the

Fourth Circuit held that BOP’s policy statements outlined in U.S.S.G. § 1B1.13

do not apply to motions for compassionate release brought by defendants under

§ 3582(c)(1)(A)(i). The Fourth Circuit reasoned that because the Sentencing

Commission has not updated its policy statements since the enactment of the

First Step Act, there are no policy statements that apply to post-First Step Act

motions brought by defendants. McCoy, 981 F.3d at 275, 281-84. Accordingly,

courts have the authority to independently determine “extraordinary and

compelling” circumstances warranting relief. Id. at 284. These circumstances

can now include, according to McCoy, the non-retroactive change in the law

effected by the First Step Act concerning sentence-stacking under Section

924(c). Id. at 285-88. Specifically, district courts are permitted to consider the

“unusual length” of a sentence as well as the “‘gross disparity’ between those

sentences and the sentences Congress now believes to be an appropriate

penalty for the defendants’ conduct.” Id. at 285.

      As McCoy explained, however, the policy statements remain helpful

guidance. Id. at 282 n.7. Furthermore, McCoy did not hold that the existence

of stacked § 924(c) sentences necessarily satisfied the requirements of

§ 3582(c)(1)(A)(i). Id. at 288. Rather, it is one factor courts can consider among


5 Whilethe mandate has issued and the decision is binding, the government
may yet appeal McCoy.
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a myriad of defendant-specific factors. See id. (“The courts took seriously the

requirement that they conduct individualized inquiries, basing relief not only

on the First Step Act’s change to sentencing law under § 924(c) but also on such

factors as the defendants’ relative youth at the time of their offenses, their

post-sentencing conduct and rehabilitation, and the very substantial terms of

imprisonment they already served.”).

      The relevance of the change in the § 924(c) penalties poses an interesting

question for Watson’s compassionate release argument. That is so because

even if Watson were sentenced under the current scheme (with the revised

penalties for both his drug and firearm offenses), he could hypothetically

receive a sentence of 540 months (or more) of imprisonment. 6 To date, Watson

has served only approximately 303 months. See Attachment #1 at 4. Even were

the Court to impose a reduced sentence of 540 months, Watson still would have

completed only approximately 56% of that total sentence. Therefore, Watson’s

sentence disparity argument is not as compelling as in other cases.



6 Watson was convicted of three counts of carrying and using a firearm in
furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1), as
well as the other counts described above carrying a grouped Guidelines range
of 360 to life. Even if the Court sentenced Watson to the bottom of the
Guidelines on the other counts (360 months), Watson would still face the
mandatory minimum sentences on the three § 924(c) counts (60 months x 3
counts = 180 months). Thus, if Watson were sentenced under the current
scheme, the Court could impose an aggregate 540-month sentence—360
months plus three consecutive 60-month sentences.

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      Nonetheless, in light of McCoy, the Court can consider a variety of other

factors, including Watson’s background, his clean disciplinary record, and his

rehabilitative efforts. 7 The government notes that Watson was no youth at the

time he committed the instant offenses. He was 32 years old at sentencing and

qualified as a criminal history category VI. In that regard Watson’s case bears

little resemblance to that of the defendants in McCoy, who were significantly

younger (McCoy was 19, and the other three defendants ranged from 22 to 24

years old). Watson’s case also differs from that of the McCoy defendants in that

Watson had amassed a serious criminal history by the time he had committed

the instant offenses, whereas the McCoy defendants’ history was minimal.

Watson’s criminal past began at age 18 when he was convicted of larceny and

sentenced to a two-year suspended sentence. (PSR at ¶ 60). At age 25, his drug

activity began to catch up with him: convictions for possession of cocaine,

marihuana and drug paraphernalia, for which he received a 90-day sentence;

and two convictions for sale of cocaine, for which he was sentenced to 8 years

all but 180 days suspended; his probation was later revoked and he returned




7 Before McCoy, the government argued that district courts are confined to the
Sentencing Commission’s policy statements in assessing whether
“extraordinary and compelling” reasons warrant a sentence reduction. The
government continues to maintain, however, that rehabilitative efforts
standing alone cannot supply the basis for a reduction. See 28 U.S.C. § 994(t)
(“Rehabilitation of the defendant alone shall not be considered an
extraordinary and compelling reason.”).
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to prison. (Id. at ¶¶ 63-64). Less than one year later he was arrested for

possession of cocaine and firearm by felon; pending sentencing he was arrested

for driving while revoked (id. at ¶ 67); he was convicted on the cocaine and gun

counts and sentenced to 5 years. (Id. at ¶ 66). In April 1992 he was paroled; he

subsequently incurred various convictions for reckless driving, no operator’s

license, and injury to personal property. (Id. at ¶¶ 68-70). In April 1995 he was

arrested on charges related to the instant offense, possession with intent to

sell/delivery cocaine and maintaining a vehicle for keeping and selling cocaine,

and was adjudged a 10-12 month suspended sentence, 3 years intensive

supervised probation and 120 days electronic monitoring. (Id. at ¶¶ 71-72). He

violated probation by December of that year and spent 4 weekends in jail. (Id.

at ¶ 71). By later that month, he was indicted federally. The conspiracy

spanned nearly two years, dating back to at least February of 1994. (Id. at

¶ 15). In sum, Watson’s record demonstrates a classic progression of ever-

growing criminal activity, from property crimes to drug possession to firearms

and drug trafficking, for which lesser terms of punishment had no deterrent

effect.

          The government does acknowledge that Watson’s disciplinary records

since his federal incarceration show he has been an exemplary inmate.

Attachment #2 (Inmate Discipline Data dated 3/17/21); Cf. McCoy, 981 F.3d at

278 (noting that the district court “cited McCoy’s rehabilitation, shown through

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his many educational and vocational achievements and his payments of nearly

$10,000 towards a $38,209 restitution order”). While Watson’s rehabilitative

strides may not equal McCoy’s, he has taken educational courses and

performed various jobs as described in detail by counsel. (Dkt. #334 at 26-27).

These efforts are to be commended.

      Watson also points to his medical conditions and the COVID-19

pandemic as supporting his contention that “extraordinary and compelling

reasons” compel a reduced sentence.        Watson does have several medical

conditions that may be found to be extraordinary and compelling in the context

of COVID-19, but each of these conditions appear to be appropriately managed.

Sealed Attachment #3 (BOP Health Services Records). Watson is obese, with

a BMI of 39 kg/m2. (Id. at 1). He has Type 2 diabetes, hypertension, and

various other conditions. (Id. at 2, 56-58). He takes medications for diabetes,

hypertension, high cholesterol, neuropathy, and diabetic retinopathy. (Id. at 2-

3). According to intra-system transfer documentation completed November 13,

2020, Watson’s A1C (blood sugar level) was 7.0 or “at goal,” and the provider

noted “No hypoglycemia” and to continue his current medications. (Id. at 46).

      On December 21, 2020, Watson tested positive for COVID-19. (Id. at 6).

He was placed in isolation and monitored daily for symptoms until January 4,

2021. (Id. at 6-7, 49, 51-52). There is no record of Watson having suffered any

severe symptoms, or any symptoms at all for that matter. (Id.). On March 3,

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2021, Watson received his first dose of the Pfizer-BioNTech COVID-19 vaccine.

(Id. at 64). He received his second dose of the vaccine on March 24, 2021. Sealed

Attachment #4.

      Conditions at FCI Gilmer have continued to improve from the height of

the pandemic. FCI Gilmer currently houses 1,501 inmates (1,465 inmates at

the    FCI    and        36   inmates    at     the   adjacent    Camp).     See

https://www.bop.gov/locations/institutions/gil/ (last accessed April 8, 2021). Of

those, no inmates are reported positive at present; only 3 staff members are

currently positive. See https://www.bop.gov/coronavirus/ (last accessed April 8,

2021). One inmate, sadly, died of COVID-19 at Gilmer, while 305 inmates and

65 staff members have recovered. Id. Given the low numbers currently

reported at FCI Gilmer, it appears that BOP has successfully mitigated the

infection rate at this facility. Moreover, BOP has continued administering

vaccines to staff and inmates, pursuant to its January 2021 guidance. See

COVID-19 Vaccine Guidance, Federal Bureau of Prisons Clinical Guidance

(Jan. 4, 2021), https://www.bop.gov/resources/pdfs/2021 _covid19_vaccine.pdf

(last accessed April 8, 2021). As of April 8, 2021, 134 staff members and 651

inmates, including Watson, had been fully inoculated at FCI Gilmer. See

Federal   Bureau    of    Prisons,   COVID-19    Vaccine   Implementation,    at

https://www.bop.gov/coronavirus/ (updated at 3 p.m. each weekday).



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      The government acknowledges that, had Watson not been inoculated, his

risk of severe illness from COVID-19 would be increased due to his obesity,

Type 2 diabetes and hypertension. That said, Watson already had COVID-19

and recovered without any apparent adverse effects. And he has now been

fully inoculated. Attachment #3 at 64; Attachment #4. This circumstance alone

demonstrates that BOP’s mitigation efforts and priority distribution of

vaccines in accordance with its published guidance is working. Inmates are

being vaccinated and provided the protection they need, especially among high-

risk populations. Courts have responded accordingly, denying compassionate

release to inmates who have received both doses of the vaccine, and even in

some cases to inmates who received only one dose of the vaccine. See, e.g.,

United States v. Cortez, 2021 WL 689923 (D. Ariz. Feb. 23, 2021) (relief denied

to inmate who received both doses of Pfizer vaccine); United States v.

Wakefield, 2021 WL 640690, at *3 (W.D.N.C. Feb. 18, 2021) (relief denied to

inmate who recovered from COVID-19, and also received first dose of vaccine;

defendant had obesity, diabetes, and hypertension); United States v. Grummer,

2021 WL 568782, at *2 (S.D. Cal. Feb. 16, 2021 (relief denied to inmate who

received both doses of vaccine; inmate suffered from several chronic medical

conditions); United States v. McGill, 2021 WL 662182, at *5 (D. Md. Feb. 19,

2021) (relief denied to inmate who both recovered from COVID-19 and received

first dose of vaccine); United States v. Smith, 2021 WL 364636, at *2 (E.D.

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Mich. Feb. 3, 2021) (relief denied to inmate who received Moderna vaccine);

United States v. Beltran, 2021 WL 398491, at *3 (S.D. Tex. Feb. 1, 2021) (relief

denied to inmate who received first dose of vaccine); but see United States v.

Sandoval, 2021 WL 673566 (W.D. Wash. Feb. 22, 2021) (granting relief to 65-

year old inmate with numerous risk factors despite having received first dose

of Moderna vaccine). In light of this circumstance, the government argues that

Watson’s medically-based argument for compassionate release does not

constitute “extraordinary and compelling” reasons standing alone.

   C. Any Reduction Watson Receives Must Reflect the Seriousness and
      Number of His Offenses.

      Focusing on Watson’s First Step and McCoy-based arguments, the

government, as acknowledged above, agrees that some level of sentence

reduction may be warranted in Watson’s case. The Court must, nonetheless,

assess the sentencing factors listed in 18 U.S.C. § 3553(a) as well as Watson’s

post-sentencing conduct, to determine the extent of any sentence reduction.

Here, Watson has served only just over half of the sentence he would receive

even under the current law and at the bottom of the Guidelines (303 months

out of a hypothetical 540 months), which weighs against his release at this

time. See, e.g., United States v. Williamson, 2021 WL 309067, at *7 (M.D.N.C.

Jan. 29, 2021) (denying relief even in light of McCoy; defendant had received

executive clemency reducing life sentence to 30 years, which was bottom of


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currently-applicable Guidelines range); United States v. Collazo, 2021 WL

632678 at *4 (E.D. Pa. Feb. 18, 2021) (relief denied where defendant had served

25 years of 169-year sentence for stacked 924(c) offenses; defendant had violent

criminal history and even under current law stacked sentences would total 54

years); United States v. Gordon, 2020 WL 2896910, at *3 (S.D. Ohio June 2,

2020) (holding that even if changes to § 924(c) were retroactive, defendant

would have stacked sentences totaling 35 years, which he has not yet served).

      The government further contends that reducing Watson’s sentence to

time served as advanced by counsel would not reflect the seriousness of his

offense. See, e.g., United States v. Norwood, 2021 WL 274508, at *1 (3d Cir.

Jan. 27, 2021) (unpub.) (finding no abuse of discretion where district court

denied compassionate release for defendant serving 500-month sentence for

bank robbery, carjacking, and two 924(c) counts, due to severe nature of the

offenses); United States v. Turner, 2021 WL 684159, at *6-7 (S.D. Miss. Feb.

22, 2021) (denying relief from a 1000-month sentence given nature of the

offenses, including armed robbery and shooting a police officer); United States

v. Fuller, 2020 WL 5849442, at *3 (S.D.N.Y. Oct. 1, 2020) (denying relief based

on stacked 924(c) offenses where Guidelines range was life and court would

have imposed that sentence based on defendant’s numerous violent acts as

gang leader). Watson was the leader of this drug trafficking conspiracy. He

employed minors as dealers and used firearms to carry out his activities,

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threatening violence to those who would encroach on his territory or fail to do

his bidding. He was found accountable for over 5 kilograms of cocaine base.

These are not the characteristics of a young or impressionable first-time

defendant caught up in a sentencing scheme that overstates his criminal

responsibility. Watson was an experienced felon whose status and authority

in the conspiracy was undoubtedly buttressed by his past record as well as his

large collection of firearms.

      On balance, the government contends Section 404 and the § 3553(a)

factors may support a reduction of Defendant’s life sentence but submits that

a reduction to time-served is not appropriate in light of the above-mentioned

factors. A modest reduction would account for the changes to the law under

the First Step Act, Watson’s rehabilitation and clear record while incarcerated,

and the 25 years already served, but still account for the nature and

seriousness, and number of, his convictions.




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                              CONCLUSION

     In light of the foregoing, the government suggests a modest sentence

reduction may be warranted but defers to the Court’s sound discretion

concerning the appropriate sentence for the defendant.

     This the 9th day of April, 2021.

                                   Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on April 9, 2021, I electronically

filed the foregoing with the Clerk of Court using the CM/ECF System, which

will notify the following registered CM/ECF users:

     Talisha Griffin, Esq.
     David Simpkins, Esq.


                                   Respectfully submitted,

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